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                      THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

COMMONWEALTH OF                               )
PENNSYLVANIA,                                 )
                                              )
                       Plaintiff,             )
v.                                            )       Civil Action No. 2:17-cv-04540 (WB)
                                              )
DONALD J. TRUMP, in his official              )
capacity as President of the United States;   )
ALEX M. AZAR II, in his official              )
capacity as Secretary of Health and           )
Human Services; UNITED STATES )
DEPARTMENT OF HEALTH AND            )
HUMAN SERVICES; STEVEN T.           )
MNUCHIN, in his official capacity as)
Secretary of the Treasury; UNITED   )
STATES DEPARTMENT OF THE            )
TREASURY; RENE ALEXANDER            )
ACOSTA, in his official capacity as )
Secretary of Labor; and UNITED STATES
                                    )
DEPARTMENT OF LABOR,                )
                                    )
                  Defendants.       )
____________________________________)

                 MOTION FOR A STAY OF PROCEEDINGS
IN LIGHT OF LAPSE OF APPROPRIATIONS, OR IN THE ALTERNATIVE FOR THE
                EXTENSION OF THE ANSWER DEADLINE

       The United States of America hereby moves for a stay of proceedings in the above-

captioned case or in the alternative for an extension of the deadline to answer or otherwise respond

to the amended complaint.

1.     At the end of the day on December 21, 2018, the appropriations act that had been funding

the Department of Justice expired and appropriations to the Department lapsed. The Department

does not know when funding will be restored by Congress.

2.     Absent an appropriation, Department of Justice attorneys are prohibited from working,

even on a voluntary basis, except in very limited circumstances, including “emergencies involving

the safety of human life or the protection of property.” 31 U.S.C. § 1342.




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3.     Undersigned counsel for the Department of Justice therefore requests a stay of proceedings

until Congress has restored appropriations to the Department.

4.     If this motion for a stay is granted, undersigned counsel will notify the Court as soon as

Congress has appropriated funds for the Department. The Government requests that, at that point,

all current deadlines for the parties be extended commensurate with the duration of the lapse in

appropriations.

5.     Opposing counsel state that they oppose the motion to stay the case. Counsel for the Little

Sisters did not have an opportunity to provide their position in the short time afforded for

Government counsel to prepapre and file this motion in light of the lapse in appropriations.

6.     In the alternative, the Government seeks an extension of the deadline to answer or

otherwise respond to the amended complaint, from December 28, 2018 until February 28, 2019.

7.     An extension is appropriate to enable the Government to account for the Court’s resolution

of the pending preliminary injunction motion, and to account for undersigned’s other work

obligations, which at this point include a trial in early February as well as three significant briefs

due in the first half of February.

8.     Counsel for plaintiffs does not oppose the requested extension of the answer deadline.

Counsel for the Little Sisters consents to the request.

       Therefore, although we greatly regret any disruption caused to the Court and the other

litigants, the Government hereby moves for a stay of proceedings in this case until Department of

Justice attorneys are permitted to resume their usual civil litigation functions. In the alternative,

the Government seeks an extension of the deadline to answer or otherwise respond to the amended

complaint, from December 28, 2018 until February 28, 2019.




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DATED: December 26, 2018           Respectfully submitted,

                                   JOSEPH H. HUNT
                                   Assistant Attorney General

                                   JENNIFER D. RICKETTS
                                   Director, Federal Programs Branch

                                   MICHELLE R. BENNETT
                                   Assistant Director, Federal Programs Branch

                                   /s/ Justin M. Sandberg
                                   JUSTIN M. SANDBERG (Il. Bar No. 6278377)
                                   Senior Trial Counsel
                                   MICHAEL GERARDI
                                   CHRISTOPHER R. HEALY
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                                   Attorneys for Defendant




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                                  CERTIFICATE OF SERVICE

       I hereby certify that, on December 26, 2018, a copy of the forgoing document was

electronically filed with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to all counsel of record.




DATED this 26th day of February, 2018.                     s/ Justin M. Sandberg
                                                        JUSTIN M. SANDBERG
                                                        Senior Trial Counsel
                                                        United States Department of Justice




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